Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 1 of 22

PAPERWORK REDUCTION ACT SUBMISSION

Clearance Officer. Send three copies of this forus, the collection instrament to be reviewed, the Supporting Statement, and any additio

mal documentation

Please read the instructions before completing this form. For additional forms or assistance in completing this form, contact your agency’s Paperwork J

Office of Information and Regulatory Affairs, Office of Management and Budget, Docket Library, Room 10102, 725 17th Street NW, Washington, DC

20505.

1. Agency/Subagency originating request
Department of the Treasury/IRS

2. OMB contro! number :
a, 1545-0074 b. __ None

3, Type of information collection (check one} : /

a. ___ New collection

b. _ XRevision of a currently approved collection

c.__ Extension of a currently approved collection

d. ___ Reinstatement, without change, of a previously
approved collection for which approval has expired

e. __ Reinstatement, with change, of s previously approved

collection for which approval bas expired ‘ ne VOR X_No
£ __ Existing collection in use without an OME conirot number
6, Requested expirgtiowda: £ 1 fs
For b-f, note item AZ of Supporting Statement instructions a. Three y¥ ee al
b._X_ Other pe 9 12003

4. Type of review requested (check one}
a. XX Regular submission
b.___ Emergency - approval requested by:10/01 98.
c. Delegated

5. Small entities
Will this information collection have a significant economic
impact on a substantial number of small entities?

4, Tite: U.S, Individual Income Tax Returs

QM sep 4.6198 |

& Ageucy fons aumber (s} (if applicable): Form 1040 and Schedules A, B, C, C-EZ, D, D-I, Ect BARRE end SEAy #

9. Keywords: Personal Income Taxes, Tax Retarm

tee

10, Abstract: These forms are used by individuals to report their income tex liability. The data is used to verify that the items reported om the forma are

correct, and also for general statistical use.

11, Affected public (Mark primary with “P* and all others that apply with “X”)
a. _P_ Individuals or households a. __ Farms
b.___ Business or other for-profit e«. _ Federai Gov,
c. ___ Not-for-profit institations f __. State, Local-or Tribal Gov.

12. Obligation to respond (Mark primary with “P* and all others that
apply with “X")

a. Voluntary

b.___ Required to obtain or retain benefits

«_P_ Mandstory

13, Anaval reporting and recordkeeping hour burdes

a. Number of respondents 71,877 464
b. Total senual responses 276,493,973
1. Percentage of these responses
. collected electronically 6%
c. Total annual hours requested: 1,211, 583,312
ad. Current OMB inventory £,143,129,008
_ ¢ Difference 168,453,304
f. Explanation of difference
1. Programa change (+, -} 438,595,728
2 Adjustment (+, -} +29,857, 576

fia reporting and recardkeeping cost burden (in thousands of
OLLSrs
a. Total annualized capital/startup costs
b. Total annuai costs (O&M)
c. Total annualized cost requested
d. Current OMB inventory
«. Difference
f. Explanation of difference
1. Program change
2. Adjustment

15. Purpose of information collection (Mark primary with “P” and al others that 16. Frequency of recordkeeping or reporting (check alf that apply)

apply with “X”)
a.___ Application for benefits =e. ___ Program planning or Mgmt
b.___ Programs evaluation f.___ Research

c.__General purposs statistics g. F-. Regulatory or compliance
d.___ Audit *

a. X Recordkeeping b.__Third party disclosure

c.X_ Reporting
1. On occasion 2,__ Weeldy 3._.. Momnthiy
4,__ Quarterly 5.__Semianonally 6._X Annually
7.__ Biennially §.__ Other (describe)

17, Statistical methods.
Does this information collection employ statistic af methods?

Yes X__ ~Ne

—er

i#. Agency contact (person who can best answer questions regarding
the content of this submission)

Name: __ Martha Brinson
Phone: 202-621-5200

OMB &-I

1095
195° Certification for Paperwork Reduction Act Submissions © "0°72?
on behalf of this Federal agency, I certify that the collection of information encompassed by this request complies with § CFR

NOTE: The text of 5 CFR 1320.9, and the related provisions of 5 CFR 1320.8 (b) (3), appear at the end of the instructions. The
certification is to be made with reference to those regulatory provisions as set forth in the instructions.

The following is a summary of the topics, regarding the proposed collection of information, that the certification covers:
(a) Itis necessary for the proper performance of agency functions,
(b) It avoids unnecessary duplication;
(c) It reduces burden on small entities;
(d) It uses plain, coherent, and unambiguous terminology that is understandable to respondents;
(e) Its implementation will be consistent and compatible with current reporting and recordkeeping practices,
(f) It indicates the retention periods for recordkeeping requirements,
(g) It informs respondents of the information called for under 5 CFR 1320.8 (b) (3):
- (I) Why the information is being collected;
id Use of information;
(iil) Burden estimate,
_ (iv) Nature of response (voluntary, required for a benefit, or mandatory),
(v} Nature and extent of confidentiality, and
(vi) Need to display currently valid OMB contro! number,

(h) It was developed by an office that has planned and allocated resources for the efficient and effective management
and use of the information to be collected (see note in Item 19 of the instructions),

(i) It uses effective and efficient statistical survey methodology, and
(j} It makes appropriate use of information technology,

If you are unable to certify compliance with any of these provisions, identify the itern below and explain the
reason in Iter 18 of the Supporting Statement,

Signature of Program Official G Shean
Garrick R. Shear, IRS Reports Clearance Officer “Ul Sap

Signature of Senior Official or designee Papartmental Reports

Baral Chu Vierea Management Officer. /e js ¢&

OMB 83-1 10/95
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 3 of 22

DEPARTMENT OF THE TREASURY

Submission for OMB review; comment request

eptember 16, 1998
The Nepartment of Treasury has submitted the following public information collection
s) to OMB for review and clearance under the Paperwork Reduction Act of 1995,
_ Public Law 10413. Copies of the submission(s) may be obtained by calling the Treasury Bureau
Clearance Officer listed, Comments regarding this information collection should be addressed to
the OMB reviewer listed anto the Treasury Department Clearance Officer, Department of the
Treasury, Room 2110, 1425 Ne ork Avenue, NW., Washington, DC 20220.
DATES: Written comments should beeceived on or before [insert date 30 days after
publication in the Federal Register} to be asgured of consideration.
INTERNAL REVENUE SERVICE (IRS)
_QMB Number: 1545-0074
Form Number: IRS Form 1040 and Schedules A, B, C, C-E2,D, D-1, 5 EIC, F,
H, J, R, and SE
Type of Review: Revision
Title: US. Individual Income Tax Return
Description: These forms are used by individuals to report their income tax liability. [he data is
used to verify that the items reported on the forms are correct, and also for g neral
statistical use. \.

Respondents: Individuals or households

Estimated Number of Respondents/Recordkeepers: 71,877,464

Estimated Burden Hours Per Respondent/Recordkeeper: Varies
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 4 of 22

Supporting Statement for Form 1040

IRS Forms 1040 and 1040-V, and Schedules A, B, C, C-EZ, DB, D-1,
E, EICc, F, EH; J, R, and SE

1. CIRCUMSTANCES NECESSITATING COLLECTION OF INFORMATION

IRC sections 6011 & 6012 of the Internal Revenue Code require
individuals to prepare and file income tax returns annually. Form
1040, and related schedules, are used by individuals to report their
income subject to tax and compute their correct tax liability.

Form 1040-V is used by taxpayers making a payment with their return.

Schedule A is used to claim itemized deductions (medical and dental
expenses, taxes, interest, contributions, casualty or theft losses,
and miscellaneous deductions) allowed by IRC sections 67, 163, 164,
165, 170, 211, 212, 213, 217, and 222, and to figure the overall
limitation on itemized deductions required by IRC section 68.

Schedule B is used to report interest and/or ordinary dividend
income over $400 and ownership or signature authority for foreigny
accounts and trusts. (Public law 91-508, IRC section 61.)

nba Af

Schedules c and C-EZ are used to report gross income, expenses, and

net profit or loss from operating a business or profession as a sole

proprietorship. (IRC section 61.)

Schedules D and D-1 are ‘used, ta report and summarize capital gains
and losses:’ (IRC séctions 1201-1233.)

Schedule E is used to report and summarize income from rents,
royalties, partnerships, S corporations, estates, trusts, REMICS,
etc. (IRC section 61.)

Schedule EIC is used to identify qualifying children for the earned
income credit. The form is required by Congress in the committee
reports for section 11111 of OBRA 90, amending IRC section 32. The
form will allow IRS to determine that valid qualifying children are
being claimed, and will also be used for statistical purposes.

Schedule F is. used ta report gross income, expenses, and net profit
or loss from farming: {IRC section 61.)

Schedule H is used by household employers to report household
employment taxes. (IRC section 3510.)

Schedule J is used by taxpayers with farm income to figure their tax
using income averaging. (IRC section 1301.)

Schedule R is used to help verify that the taxpayer is entitled to
the credit for the elderly or the disabled, that it is properly
computed, and also for general statistical use.

Ae eet latent 2 Ma eal a
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 5 of 22

Supporting Statement for Form 1040

Schedule SE is used by self-employed individuals and employees of
electing churches and qualified church-controlled organizations to
figure any self-employment tax. (IRC sections 1404 and 1402.)

2. USE OF DATA

‘The data on Form 1040 and its schedules will be used in comput ing

the tax liability and in determining that the items claimed are

properly allowable. It is also used for general statistical use.
/

3. USE OF IMPROVED INFORMATION TECHNOLOGY TO REDUCE BURDEN

Approximately 6% of Forms 1040 are filed electronically.

4. EFFORTS TO IDENTIFY DUPLICATION

We have attempted to eliminate duplication within the agency
wherever possible.

5. METHODS TO MINIMIZE BURDEN ON SMALL BUSINESSES OR OTHER SMALL
ENTITIES
Not applicable.

6. CONSEQUENCES OF LESS FREQUENT COLLECTION ON FEDERAL PROGRAMS: OR
POLICY ACTIVITIES ae ¥

Not applicable. JF

7. SPECIAL CIRCUMSTANCES REQUIRING DATA COLLECTION "TO BE

INCONSISTENT WITH GUIDELINES IN 5 CFR 1320.5(d) (2)

Not applicable.

8. CONSULTATION WITH INDIVIDUALS OUTSIDE OF THE AGENCY ON
AVAILABILITY OF DATA, FREQUENCY OF COLLECTION, CLARITY OF
INSTRUCTIONS AND FORMS, AND DATA ELEMENTS .

periodic meetings are held between IRS personnel and representatives
of the American Bar Association, the National Society of Public
Accountants, the American Institute of Certified Public Accountants,
and other professional groups to discuss tax law and tax forms.
During these meetings, there is an opportunity for those attending
to make comments regarding Form 1040. In addition, we receive
comments from other interested outside groups and from individuals.
In response to the Federal Register Notice dated July 7, 1998, we
received no-comments during the comment period regarding Form 1040
and its schedules.

9. EXPLANATION OF DECISION TO PROVIDE ANY PAYMENT OR GIFT TO
RESPONDENTS
Not applicable.

106. ASSURANCE OF CONPIDENTIALITY OF RESPONSES
Generally, tax returns and tax return information are confidential
as required by 26 U.S.C. 6103.

we

ade OA alae

we aN ee
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 6 of 22

Supporting Statement for Form 1040

41. JUSTIFICATION OF SENSITIVE QUESTIONS

Not applicable.

12.

Student Loan W/S
Child credit W/s

Exemption W/S
AMT Worksheet
EITC Worksheet

Form 1040-V OTC
pre-printed

Sch aA

Sch ¢

Sch D
Part IV--CGDs
Loss Worksht

Sch. D {line 25)
Worksheet

Sch F--Parts 1&2

Sch F--Parts 2&3.

Schedule J
(95 Gapital
Gain Worksheet)

Time per

ESTIMATED BURDEN OF INFORMATION COLLECTION

Responses Response Adjustments

Burden

(71,877,464

4,000,060
10,000,000
3,679,650
4,000,000

34,007,717
3,432,289

16,421,458
5,155,718.

15,792,487.

4,671,253 -

2,298,088°

eee ee

' 2,244,008

12,035

8.75 /
0.60.

1/63":

0.32
0.420
1.46

St ee ee

' 4.23
0.36

4.43.
1.41

=e

6.22
6,44

49

21,092,598
. “0

0

0

0

637,568

4,187,544
. - ° Oo

76,693

43,411

19,481

0

Program
Change
20,844,465
| 2,400,000
16,300,000
0
0
0
0
0
0
0

eee ee eee ee ee eK ee

122,500

628,927,810
2,400,000
16,300,000
1,177,488
1,680,000
10,490,610

1,690,000

2,887,202

69,960,717
6,586,467
988,178

77,505

122,500

‘Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 7 of 22

Supporting Statement for Form 1040

—_we ee ee eee eee eee eer, —se ee —_eew ee eee ee see eee eee ee ee ee eee eee

Schedule J

(96 Capital .

Gain Worksheet 250,000 49 0 122,500 122,500 3
Schedule R . 137,223 1.53, (139,975) 0 209,951
Sch SE--Short 12,011,238. 0.96-. .. 56,934 .. © 11,530,788
Sch SE--Long 879,106 1.72 70,652 "OO 1,503,271 |
TOTALS 276,493,973 29,857,576. 38,595,728 1,211,582,312

Estimates of the annualized cost to respondents for the hour burdens shown
above are not available at this time. .

12. Burden Estimation. (continued). We are asking for continued 20
approval of these regulations that are associated with Form 1040.3.
Please continue to assign OMB number 1545-0074 to these regulations:
1.23-5 wee Lo

1.31.2 ,

1.37-2 and 3

1.41-4

1.41-4A v .
1.43-2 ,
1,44A-3

1.52-4

1.61-15

1.63-1

1.64(c)6

1.71-1

1.72

1.79-2 and 3

1.83-2 thru 5

1.105

1,151-1 7

1.152-4 and 4T

1.162-24

1.163-10T

1.166-10

1.170

1.170A

1.172

1.180-2

1.182-6

1.190-3

1.213-1

1.215-1

oe

es

ced AE ek
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 8 of 22

1.
i.
1.
1.
1.
1.
1.
1.
1.
1.
1.

1.
.451-5 thru 7
2454-1

461-1

.466-1

.551-4°

.612-4
.642(c)-5 and 6
.702-21

ft et bed et et

’

PRPHEHPEP PEP HEP PEEP RP HBP PEP PRP RE Re BR ee

736-1 oo. Lot me ee
.743-1 oo mt
.751-1 Tee
.852-7 and 9

.931-1 .

.935-1°

-1012-1

.i041-1T yt
.1081-11

.1101-4

1211-1

.i1212-1

1231-2

.1232-3

1248-7

.1251-2

.1254-1 and 3

.13604-1 thru.5
.1311(a}-1 —

Supporting Statement for Form 1040

254-1
265-1
274-5T and 6T
280A-3
280F-3T
302-4
307-2
333-1
351-3
383-1
442-1
446-1

706-%=

1383-1

.1385-21
.1402(a)-2,5,11,15,

6 1.1402(c)}-2

1402 (e) - (2) -1
.1402(£}-1
.6001-1

6060-1

.6072-1
.6107-1
.6109-1 and 2

ine tg ns

ie

cect deh fuk ake be aL aE lS
* Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 9 of 22

Supporting Statement for Form. 1040

1.6011-1

1.6012-1

1.6013-1, 6, 7

1.6017-2

1.6060-1

1.6072-1

1.6107-1

1.6109-1 - J
1.6151-1

1.6695-1 mo CoA LR Volta et
4.6696-1 . oo.

1.9100-1

5c.0 nt tke ee 2a DSA Lacs

7.0

16A.126-2

18.1-7 :
"31,6011 (a)-1 and 7

301.6110-3 and 5 - , . cae

301.6316-4 thru 6 - - Toe
301.6361-1 and 3 - -_ .- oe OT
301.6501 - we no we Ed -,
301.6501(d)} - - oes oo eee eee se See lle. w-
301.6905-1 . ~ Boot
301.7216-2 © oe : _. . Sr

AR ee

'

The following are citations to 26 U.8.C.:

61

72 .

83

126 7

162 (h}

170

172{(b), (ec), (h)

180

182
265
301
307 oe
317

318

331

332

351

403

454

518(c) (18) 551
613 (q)

642 (c)

735

736
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 10 of 22

Supporting Statement for Form 1040

852

857

1012

1034 (i)

1037

1081

1101 -. oo
1232A . /
6011 . :
6012 vba.
6061

6107

7216

afte jai Abe lita

dam dna atl

so i
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 11 of 22

Supporting Statement for Form 1040

13. ESTIMATED TOTAL ANNUAL COST BURDEN TO RESPONDENTS
As suggested by OMB, our Federal Register Notice dated July 7, 1998,
requested public comments on estimates of cost burden that are not
captured in the estimates of burden hours, i.é., estimates of capital
or start-up costs and costs of operation, maintenance, and purchase
of services to provide information. However, we did not receive any
response from taxpayers on this subject. As a result, estimates of
these cost burdens are not available at this time.

i
14. ESTIMATED ANNUALIZED COSTS TO THE FEDERAL GOVERNMENT
The primary cost to the government consists of the cost of printing
these forms. We estimate that the cost of printing Form 1040 and its
schedules, including the tax packages, is $15,000,000.

15. REASONS FOR CHANGE IN BURDEN
Major Changes to Form 1040

a. We added line 24 for the student loan interest deduction to
reflect new Internal Revenue Code section 221. To make room for
this line, we removed the extra bIank line on line 21. We widl
not create a new form for figuring this deduction; it will bet
figured | ina worksheet in’ the “instructions. ~ OS

b. We added line 44 for education credits (the Hope and lifetime
learning credits) allowed by section 25A, figured on Form 8863.

¢. We added line 43 for the child tax credit allowed by new
section 24. It will be figured in a worksheet in the
instructions. We added line 60, in the payments section, for the
additional (refundable) amount of the credit, which is figured on
Form 8812. The supplemental credit is allowed by section 32(n).

We revised line 6c, column (4), to allow taxpayers to indicate
which dependents qualify for the child tax credit (one of the
requirements is that the child must be a dependent). This will
prevent taxpayers from having to enter again on Form 8812 the
name and SSN of the dependent children. This removes the
information previously in column (4) regarding the number of
mouths the dependent lived in the taxpayer’s home. However, this
information is still collected on Schedule EIC, and we therefore
believe that the benefits from revising column (4) outweigh the
loss of the number of months information for non-EIC dependents.
This change will not affect the burden.

ad. To make room for the three new lines on page 2, we moved the
standard deduction amounts to the margin.

e. We added "if required" on line 46 to reflect that Form 1116
is not required in all cases for 1998 (new section 904(j)).

tee LE) 2 cape lal la,

Aaa aie a UR ten
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 12 of 22

Supporting Statement for Form 1040

Instructions for Form 1040

GENERAL CHANGES
We increased the point size and leading of the text in the
instructions. We held several focus groups, and this was the most
common suggestion we received about our instructions. The number of
pages has increased substantially, but we believe this has made the
instructions much easier for taxpayers to use.
/
Deletions from the Instructions
(using old page numbers of the 1040 instructions)

Page 6
We deleted What’s New for 1997? and What To Look for in 1998 and

replaced it with a more detailed What’s New for 1998?.

Page 9
We removed the information about the old 1099- Div.
BM ANG ai G@ Ewe Sas J owe Aad 2 Boe
Page 4 . a
We deleted instructions for old. dine 6c, colum (4}...7527 | oe -
wo Lt . be ae et -=

Page 16
We deleted the old IRA worksheet, and the text on Married filing
separately to reflect changes made to section 219(g)-° ~~ -

Page 17°

We deleted the TIP on long-term care insurance for the self-employed
health insurance deduction because it. is no longer new and is.
uncommon.

Page 18

We deleted the requirement to attach a statement. if completely blind,
partially blind, or permanently partially blind, to reduce taxpayer
burden. We found we were not making much use of these statements.

Page 19
We revised instructions “for the Tax Table and Tax Rate to reflect new

Schedule J (section 1301).

Additions to the Instructions —
(using new page numbers of the 1040 instructions)

Page 6
We deleted information on 1997 and 1998, and replaced it with more

detailed information about new items for 1998.

Page 10
We added information about new Form 1098-E and revised Form 1099-DIV.

2g. uh aut aes
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 13 of 22

Supporting Statement for Form 1040

Page 12

We added text. telling taxpayers to enter their SSNs on a joint return
in the same order as they did the previous year. This prevents
possible processing errors when the SSNs are reversed from one year
to the next. We also added text telling taxpayers that their SSN(s)
are no longer on the mailing label, and therefore must be entered on
the return. We also relocated ATIN text from old page 6 here.

Page 13 - é
We added instructions for revised line 6c, column {4).

Page 16
We added text on Roth IRA rollovers, new for 1998, and excess

contributions to an IRA, based on information that such contributions
are now occurring more frequently.

Page 19
We added a bullet item to state that Roth and Education IRAs are not

eligible for a deduction (only traditional IRAs are eligible).

Bee vy b

Page 20 e 2
We added a new IRA worksheét to reflect the fact that a taxpayer Who

does not participate in an employer retirement plan but whose spouse
does can now take an IRA deduction at higher income levels (section

219(g)).

Page 21 co gee
We added instructions and a worksheet for new line 24. ‘student loan
interest deduction (section 221).

Page 22 be aera .

We revised the blindness instructions to remove the rédtiirement to
attach a statement if completely blind, partially blind, or.
permanently partially blind, to reduce taxpayer burden. We found we
were not making much use of these statements.

Page 23 .
We added 1 line to the Standard Deduction Worksheet for Dependents to
reflect the change to section 63(c) (5). We also pre-printed the new

additional standard deduction amount.

Page 24
We added revised instructions for the Tax Table and Tax Rate

Schedules, and new instructions for Schedule J, to reflect new
Schedule J (section 1301).

Pages 25, 26, and 27
We added text and two worksheets for new line 43 to reflect the child
tax credit allowed by new section 24.

Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 14 of 22

Supporting Statement for Form 1040

Page 27

We added instructions for new line 44, to reflect Form 8863 (section
25A). We added instructions for line 46 to reflect the new de
minimis rule for filing Form 1116 (new section 904(j)).

The above changes will result in a program change increase of
39,544,465 hours for Form 1040. J

We received better filing figures and we are requesting an adjustment
increase of 21,730,166 hours for Form 1040.

Schedules A&B and Instructions

“Se adhe

There are no changes to Schedule“A?*

We removed lines 7 through 10 of Schedule B. The amount of ordinary
dividends from box 1 of For 1O9S-DIV will, be entered’‘on line 5S”
instead of the amount of groas dividends Erom the 1997, Form.1.099-DIV,
box la. It will therefore,no longer be necessary te enter. the amount
of capital gain distributions..and, nontaxable, distributions: ands»...
subtract the total of those amounts from the total gross dividends. .
Capital gain distributions: wild. be reported only on Schédulé D. °
Nontaxable distributions will not be reported on the return, as we do
not need them to compute tax... enammen: a ose- , Sena

oyeT Lop STEER yeet rem

JD OT TBA TE rr “SH

as suggested by the AICPA.

Be TR OTB ay Een

Page A-1 0
We added text on long-term caré premiums’
Page A-2 . wee tga load
We added text on real estate: taxese shown

on a settlement statement,
as suggested by the AICPA. meen “iB.

Page B-1 ee ne
We revised the text on tax-exempt interest and amortizable bond
premium, for consistency with other text and..to reduce. the amount of

text. We also revised the first paragraph of the line 5 instructions
to reflect the changes made to Schedule B.

The above change: will result.in a program change decrease of
2,855,312 hours for Schedule B.

We received better filing figures and we are requesting an
adjustment increase of 4,187,544 hours for Schedule A and an
adjustment decrease of 1,192,262 hours for Schedule B.
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 15 of 22

Supporting Statement for Form 1040

' Schedules C and ¢C-EZ and Instructions

We revised line B on both forms to accommodate a new six-digit
business code, requested by SOI.

We added the new codes to pages C-8 and C-9 of the instructions for
Schedule C and also added information under A Change To Note alerting
taxpayers to the new codes. /

We received better ffling figures and we are requesting an adjustment
increase of 2,706,493 hours for Schedule C and an adjustment increase
of 392,101 hours for Schedule C-EZ.

Schedules D and D-1 and Instructions

We revised the footnote on page 1 of Schedule D and page 2 of
Schedule D-1; to remove references to the 1997 effective date. We
also revised the text on Schedule D, line 29, for clarity, based on
taxpayer feedback.
We deleted-the-instructions- for line 25 and replaced them with az
workshéet,* af’ thé suggestion of the AICPA. We added a chart (page 7}
to show taxpayers WHo receive only capital gain distributions (about 5
million taxpayers)..how to report the amounts reported to them on Form
1099. CR ap

VO pe i

tl

a gt egy

The above changes will result in a program change increase of
351,575 hours for Schedule D due to the worksheet. We received
better filing figures and we are requesting an adjustment increase of
2,226,745 hours for Schedule D.

at

Schedule E Instructions

We added a nate on page E-6, at the request of Chief Counsel. There
were no major changes to Schedule E.

We received better filing figures and we are requesting an adjustment
increase of 967,552 hours for Schedule E.

wads area eat bee
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 16 of 22

Supporting Statement for Form 1640
Schedule F

We revised line B to accommodate a new six-digit code, requested by
SOI. We also added information undér Changes To Note alerting
taxpayers to the new codes and giving them information about new
Schedule J, Farm Income Averaging.

We received better filing.. figures, and we, are requesting,.an, adjustment
decrease of 109,397. hours for Schedule’ Fe.

~eare cee Schédule a”

ss ‘ommerr:

We created new Schedule J to’ implement section.1301 ‘of: the. Code, as
added by section 933 (a): of. Public Law 105-34. lta ts

This will result. “in’a | “program, change increase of. 4, 555, 900 hours for
Schedule J.

Sage Cia Pt 24-78 ui In - cet ln “aA The T wie : oe hi eigid

SUVAP URI Dluar? + guNaute! RE: SR DSP Gata Cu
OT OOMOMIES, qe? OUT PAW CS ud ert Ov cp ac mArgist Oo cars:
We deleted. the physiedan’ $ -statement.-from thee formeand’ movedei t te
the instructions, because.we:.are; nes longer using it. This will not
affect the burden.

qd
rhisiy stair

We received better filing: Fisttes and we “are > requesting’ ‘and. adjustment
decrease of 139,975 hours. _

loess Re CNP aS basi

fee Una ete, alta estab eet teab
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 17 of 22

Supporting Statement for Form 1040

All other Schedules and Instructions
Form 1040-V and Schedules A, E, EIC, H, and SE, and the instructions
for Schedules B, H, and SE have no major changes.
We received better filing figures for Schedule EIC and we are

requesting an adjustment increase of 99,708 hours.

We received better filing figures for Schedule H and we are requesting
and adjustment decrease of 1,138,685 hours.

We received better filing figures for Schedule SE and we are
requesting an adjustment increase of 127,586 hours for Schedule SE.

TOTAL PROGRAM CHANGE AND NET ADJUSTMENT FOR ALL FORMS _ AND SCHEDULES

their instructions will resuT€ in a net program change increase. of
38,595,728 hours.

The above changes for Form 1040, schedules, and payment roaches ana

We received better filing figures and we are requesting a net
adjustment increase of 29,857,576 hours.

16. PLANS FOR TABULATION, STATISTICAL ANALYSIS, AND PUBLICATION
Not applicable.

17. REASONS WHY DISPLAYING THE OMB EXPIRATION DATE IS INAPPROPRIATE
See attachment.

18. EXCEPTIONS TO THE CERTIFICATION STATEMENT ON OMB FORM 83-1
Not applicable.

Note: The following paragraph applies to all collections of information
in this submission:

An agency may not conduct or sponsor, and a person is not required to
respond to, a collection of information unless the collection of
information displays a valid OMB control number. Books or records
relating to a collection of information must be retained as long as
their contents may become material in the administration of any internal
revenue law. Generally, tax returns and tax return information are
confidential, as required by 26 U.S.C. 6103.

stra 2
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 18 of 22

DEPARTMENT OF THE TREASURY
Submission for OMB review; comment request

- November 4, 1998
The Department of Treasury has submitted the following public information collection
requirement(s} to OMB for review and clearance under the Paperwork Reduction Act of 1995,
Public Law 104-13. Copies of the submission(s) may be obtained by calling the Treasury
Bureau Clearance Officer listed. Comments regarding this information collection should be
addressed to the OMB reviewer listed and to the Treasury Department Clearance Officer,
Department of the Treasury, Room 2110, 1425 New York Avenue, NW., Washington, DC
20220.
DATES: Written comments should be received on or before [insert date 30 days after

publication in the Federal Register] to be assured of consideration.

INTERNAL REVENUE SERVICE (IRS)

OMB Number: 1545-0074

Form Number: IRS Form 1040 and Schedules A, B, C, C-EZ, D, D-1, E, EIC, F,
H, J, R, and SE

Type of Review: Revision

Title: U.S, Individual Income Tax Return

Description: These forms are used by individuals to report their income tax liability. The data
is used to verify that the items reported on the forms are correct, and also for
general statistical use.

Respondents: Individuals or households
Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 19 of 22

Estimated Number of Respondents/Recordkeepers: 71,877,464

Estimated Burden Hours Per Respondent/Recordkeeper:

Copying,
Learning about assembling, and
the law or the Preparing the sending the

Form/Schedule | Recordkeeping form form form to the IRS Totals
Form 1040 3 br., 34 min. 2 hr, 13 min. 4hr., 30 min. 7 min. 10 hr., 57 min.
Schedule A 2 hr., 32 min. 26 min. I hr., 10 min. 27 min. 4 br., 35 min.
Schedule B 33 min. § mitt. 11 min. 20 min. 1 br., 12 min.
Schedule C 6 br., 26 min. 1 hr, 11 min. 2hr, 6 min. 35 min. 10 br., 18 min.
Schedule C-EZ 46 min. 4 min. 34 min. 20 min. lbr., 4 min.
Schedule D 1 br., 11 min. 2 hr., 7 min 2 br., 39 min, 1 hr., 3 min 4hr., 10 min.
Schedule D-1 13 min. 1 min, 11 min. 35 min. 1 br., 0 min.
Schedule # 2 br., 52 min. 1 hr., 7 min I hr., 16 min. 35 min. 5 br., 10 min.
Schedule EIC | ~~ -------— -- 2 min, 3 mim. 20 mun. 27 mun.
Schedule F:

Cash Method 4hr, 2 min 36 min. i hr., 14 min. 20 min. 6 hr., 12 min.
Accrual Method 4 hr., 22 min. 25 min. 1 hr., 19 main. 20 min. 6 hr., 26 min.
Schedule H 46 min, 30 min. 48 min. 35 min. 1 br., 35 min.
Schedule J 20 min. 8 min. Lhr., 8 min. 41 min. 2 br, 17 min. |
Schedule R 20 min, 15 min, 22 min. 35 min, 1 br., 32 min.
Schedule SE:

Short 20 min. 13 min. 11 min. 14 min. 58 min.

Long 26 min. 22 min. 34 min, 20 min. Tbr, 2 min.

Frequency of Response: Annually

Estimated Total Reporting/Recordkeeping Burden: 1,211,582,312 hours

-Gase 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 20 of 22

3
Clearance Officer: Garrick Shear (202) 622-3869

Internal Revenue Service

Room 5571

1111 Constitution Avenue, N.W.

Washington, DC 20224
OMB Reviewer: Alexander T. Hunt (202) 395-7860

Office of Management and Budget

Room 10226, New Executive Office Building

Washington, DC 20503

Ke H

Departmental Reports

_Management Officer

BELLING CODE: 4830-01
i

16

00

xn]

November i2, 1998 / Notices

Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 21 of 22
Federal Register/Vol. 63, No. 218/Thutsday,

$2353

DEPARTMENT OF TRANSPORTATION

Research and Speciai Programs
Administration

issuance of Advisory Bulletin

AGENCY: Research and Special Programs
Administration, (RSPA}, DOT.

ACTION: Notice; issuance of advisory
bulletin.

SUMMARY: We are issuing this advisory
bulletin to owners and operators of
Hazardous Liquid and Natural Gas
Pipelines. The bulletin advises the
industry about the potential for damage
to pipeline facilities caused by the
passage of Hurricane Georges.
ADDRESSES: This document can be
viewed on our home page at: http//
ops.dot.gov.

FOR FURTHER INFORMATION CONTACT:
Linda Daugherty, (202) 366~4577. ...
SUPPLEMENTARY INFORMATION:

I. Background

The purpose of this Notice is to advise
all operators of natural gas and.
hazardous liquid pipelines located in
offshore waters of the Gulf of Mexico of
recurring safety problems that may be
resulting from the passage of Hurricane
Georges. Operators should be advised
that we have received several reports of

damage to pipeline facilities,

particularly in the area bounded, East of
the Mississippi River and West of Mobil
Bay. a :

Several mudslides in this area may

-have exposed pipelines which could

pose a safety threat to the crews of
fishing vessels in shallow coastal waters
and to other marine operations in
shipping lanes and deeper offshore
waters. Extensive onshore flooding may
also have exposed or weakened
facilities. We are working with the
Minerals Management Service, the Coast
Guard, and the Army Corps of Engineers
to address the potential hazards of

".. exposed or weakened pipeline facilities
‘in areas affected by Hurricane Georges.

This Notice reminds operators of
offshore pipelines that may have been
affected by flooding of Federal pipeline
safety requirements. We are advising
pipeline operators of similar problems
that may occur in inland navigable
waterways. Also, we are advising the
commercia! fishing industry of the
potential of unburied offshore pipelines
by sending this Notice to Louisiana
Shrimp Association, Texas Shrimp
Association, Southeastern Fisheries
Association, National Fish Meal & Oi
Association, and Concerned Shrimpers
of America. Pipeline operators or
mariners aware of any damage or

exposure to a portion of a submerged
pipeline should report that information
to the appropriate US Coast Guard
District. The Coast Guard has issued a
radio advisory to vessel operators
operating in or near the mouth of the
Mississippi and an advisory in its
Notice to Mariners.

IL Advisory Bulletin (ADB-98-3)

_ To: Owners and Operators of
Hazardous Liquid and Natural Gas

‘ Pipelines,

Subject: Recurring safety problems
which may be resulting from the
passage of Hurricane Georges.

._ Purpose: We are advising all operators
of natural gas and hazardous liquid

Pipelines located in offshore waters and
other areas that may have been
impacted by flooding due to the passage
of Hurricane Georges. The recent
passage of Hurricane Georges and major
storms may have contributed to the

_ @xposure or instability of pipelines in

the vicinity of the Gulf of Mexico.
Advisory: On October 1, 1998, a 10-
inch pipeline located in the Gulf of _
Mexico south of the Mississippi River;
in an unstable mudslide area with a

"water depth of 108 feet, ruptured and __

released an estimated 3,700 barrels of
crude oil, Other reported incidents
include pipeline exposures and natural
gas and hazardous liquid releases.

Our pipeline regulations require _
operators to patrol their lines
periodically for the presence of unusual
operating and maintenance conditions

and te take corrective action if 7

conditions are unsafe. Because this
patrolling is generally done using
aircraft, pipelines exposed or damaged
on the seafloor can not be visually
detected. It is likely that some pipelines
located in the area of Hurricane Georges’
impact are exposed or damaged. It is

- Luportant to note that if a pipeline

operator has knowledge that its pipeline
is exposed or otherwise presenting a
danger to the public or the environment,
49 CFR sections 192.613 and 192.703
applicable to gas pipeline operators, and
49 CFR section 195.401 applicable to
hazardous liquid pipeline operators
would require the operator to take steps
to mitigate the hazard. Additionally, 49
CFR sections 192.612(b} and 195.413(b)
require that, if upon notification by any
person, an operator discovers that a
pipeline it operates is exposed on the
seabed or constitutes a hazard to
navigation, it shall promptly notify the
National Response Center (1-800--424—
8302) with the geographic coordinates
of that pipeline, mark the location of the
pipeline in accordance with 64 CFR,
and within six months of discovery,
place the pipeline so that the top of the

Pipe is 36 inches below the seabed for
normal excavation or 18 inches for reck
GXCcavation, Te,

In view of the above, pipeline ~ |
poerators should consider taking the

following actions regarding the natural

gas end hazardous liquid pipelines -
located in areas impacted by Hurricane
Georges.
1. Identify and caution persons who
normally engage in commercial fishing,
shrimping, and other marine vessel
operations in shallow coastal waters
where Hurricane Georges may have
affected a pipeline, Submerged offshore

- pipelines may have become unprotected

on the ocean floor. Marine vessels

_ Operating in water depths comparable to

a vessel's draft or when operating
bottom dragging equipment can be
damaged and their crews endangered by
an encounter with a submerged a
Pipeline. The pipeline company’s
public education and damage
prevention programs may be used to
facilitate this notification process. -
Pipeline operators may want to consider
a joint public education effort in areas

- of common concern.

2. Identify and caution marine vassel
operators in offshore shipping lanes and
other offshore areas where Hurricane
Georges may have affected a pipeline
that deploying fishing nets or anchors,

-and dredging operations may damage

the pipeline, their vessels, and endanger
their crews. The pipeline company’s
public education and damage
prevention programs may be used ta
facilitate this notification process.
Pipeline operators may want to consider
a joint public education effort in areas
of common concern.

3. Identify and correct any conditions
on the pipetine that could violate
pipeline safety requiremerts, and the
terms and conditions of the pipeline’s
Corps of Engineers permit.

Issued in Washington, D.C. on November 8,
1998. .

Richard B. Felder,

Associate Administrator for Pipeline Safety.
[FR Doc. 98-40278 Filed 11-10-98; 8:45 am]
BILLING CODE 48t0-6o-P

DEPARTMENT OF THE TREASURY

Submission for ONS Review;
Comment Request

November 4, 1998,

The Department of the Treasury has
submitted ihe following public
information collection requizement(s} ta
OMB for review and clearance under the

' Paperwork Reduction Act of 1995,

Public Law 104-13. Copies of the
[ .

t
T

@3356

» © “Case 4:09-cr-00043-SPF Document 54-6 Filed in USDC ND/OK on 05/15/09 Page 22 of 22
Federal Register /Vol. 63, No. 218/ Thursday; November 12, 1998/ Notices

submission(s) may be obtained by
calling the Treasury Bureau Clearance
Officer listed. Comments regarding this .
information collection should be
addressed to the OMB reviewer Hsted
and to the Treasury Department
Clearance Officer, Departinent of the
Treasury, Room 2110, 1425 New York
Avenue, NW., Washington, DC 26220,
DATES: Written comments should be
received on or before December 14, 1998
to be assured of consideration.

Internal Revenue Service {IRS}

OMB Number: 1545-0074.

Form Number: IRS Form 1040 and
Schedules A, B, C, C-EZ, D, D-1, E, EIC,
F,H, J, R, and SE.

e of Review: Revision.

Tifle: U.S. Individual Income Tax -
Return.

Description: These forms are used by
individuals to report their income tax
liability. The data is used to verify that

. the items reported on the forms are

correct, and also for general statistical
use. ,

Respondents: Individuals or
houseHolds. >

Estimated Number of Respondents

' Recordkeepers: 71,877,464.

Estimated Burden Hours Per
Respondent/Recordkeeper:

. : Copying, assambling,
Formschedule Recordkeeping Leaming about the Preparing the form and senking the fom | Totals
. ‘o the

Form 1046 cece Shr. 34 min... 12 hr, 13 min ee 4hr., 30 min- 7 min 10 hr., 57 min.
Schedule A ..... eevee | 2 Fig BE AMI ceceecccseee | 2B ATED cccas es ceeeerenneenses TAP, TO MI cece | SF INIT cecscsemecenee | 4 A, 35 min.
Schedule B .ecscscerecers 33 min wu 8 min . 11 min ... ov 7 br., 12 min,
Schedule GC ones 6 r., 26 MIN een neee Tor, Wi min ow. | 2 tn, 6 min oe 10 hr., 18 mir.
Schedule CeEZ wa 46 inin 4 min 34 min ....... . 7 hr., 4 min.
Schadule Do... asses The, it min 2. | 2 An, Fomine 2hr., 39 min . . 4hr., 10 min,
Schedula B-7. » | 13 min ee | 1 min TEIN cececceececesosene 1 hr., 0 min,
Schedule CF .._.. scenes 2 Fr, BE MM waesneseeree Tbr, 7m wee | TA, TG OE ee eeeeeeee 5 hr, 10 min.
Schedule EG 2 min 8 OMIM oes easeerearr eases 27 min,
Schedule F: .

Cash Method ......... 41, 2imiin «QW... eee 36 min 6 hr, 12 min.

Accrual Method .... i 6 hr., 26 min.
Schedule H 1 hr., 35 min.
Schedule J 2 hr., 17 min,
Schedula A 1 be., 32 min.
Schedule SE:

SHOr ees esneseescenee 58 min.

LOTIQ. -sscesesessessecere 1 Fr., 2 min.

Frequency of Response: Annually.

Estimated Total Reporting/ |
Recordkeeping Burden: 1,211,582,312
hours.

System (Board); and Federal Deposit
insurance Corporation (FDIC).

ACTION: Discontiziuance of information
collection.

Clearance Officer: Garrick Shear,
(202) 622-3869, Internal Revenue
Service, Room 5571, 1111 Constitution
Avenue, N.W., Washington, DC 20224.

OMB Reviewer: Alexander T. Hunt,
(202) 395-7860, Office of Management
and Budget, Room 10226, New
Executive Office Building, Washington,
DC 20503.
Lois K, Holland,

Departmental Reports Management Officer.
{FR Doc. 98-30183 Filed 11-10-98; 8:45 am]
BILLING CODE 4830-01-P

DEPARTMENT OF THE TREASURY

SUMMARY: Notice is hereby given of the

discontinuance by the OCC, the Board, —

and the FDIC (the “agencies”) of an
information collection, the “Monthly
Consolidated Foreign Currency Report
of Banks in the United States” (FFIEC
035). Banks will no longer be required
te complete this report after the
December 31, 1998 report date. .

DATES: The final date as of which the

FFIEC 035 will be collected is December
31, 1998, .

_ FOR FURTHER INFORMATION CONTACT:

Additional information may be
requested from any of the agency

_ Clearance officers or the Office of -

Oifice of the Comptroller of the
Currency

Federal Reserve System

Federal Dapesit insurance Corporation

Agency Information Collection
Activities: Discontinuance

AGENGIES: Office of the Compiraller of
the Currency (OCC), Treasury; Board of
Governors of the Federal Reserve

Management and Budget (OMB} Desk
Officer whose names appear below.
- OCC: Jessie Gates, OCC Clearance
Officer, or Camille Dixon, (202) 874—
5090, Legislative and Regulatory
Activities Division, Office of the
Comptroller of the Currency, 250 E
Street, SW, Washington, DC 20219,
Board: Mary M, McLaughlin, Chief,
Financial Reports Section, (202) 452—
3829, Division of Research and
Statistics, Board of Governors of the

Federal Reserve System, 20th and C
Streets, NW, Washington, DC 20551.
Telecommunications Device for the Deaf
(TDD) users may contact Diane Jenkins,
(202) 452-3544, Board of Governors of
the Federal Reserve System, 20th and C
Streets, NW, Washington, DC 20551.
FDIC: Steven F. Hanft, FDIC Clearance
Officer, (202} 898-3907, Office of the
Executive Secretary, Federal Deposit
Insurance Corporation, 550 17th Street
NW, Washington, DC 20429. .
OMB: Alexander T. Hunt, OMB Desk
Officer, (202) 395-7860, Office of
Information and Regulatory Affairs,
Office of Management and Budget, New
Executive Office Building, Room 3208,
Washington, DC 20503.
SUPPLEMENTARY INFORMATION: —

Discontinuance of the Following Report

Title; Monthly Consolidated Foreign
Currency Report of Banks in the United
States.

Form number: FFIEC 035.

Frequency of Response: Monthly.

Affected Public: Businesses or other
for-profit.

For GCC:
~ OMB Number: 1557-0156.

Estimated Number of Respondents:
2g,

Estimated Average Hours per
Response: 12.68 burden bours.

